17-23868-rdd   Doc 19   Filed 09/25/18    Entered 09/25/18 12:01:31   Main Document
                                         Pg 1 of 10
17-23868-rdd   Doc 19   Filed 09/25/18    Entered 09/25/18 12:01:31   Main Document
                                         Pg 2 of 10
17-23868-rdd   Doc 19   Filed 09/25/18    Entered 09/25/18 12:01:31   Main Document
                                         Pg 3 of 10
17-23868-rdd   Doc 19   Filed 09/25/18    Entered 09/25/18 12:01:31   Main Document
                                         Pg 4 of 10
17-23868-rdd   Doc 19   Filed 09/25/18    Entered 09/25/18 12:01:31   Main Document
                                         Pg 5 of 10
17-23868-rdd   Doc 19   Filed 09/25/18    Entered 09/25/18 12:01:31   Main Document
                                         Pg 6 of 10
17-23868-rdd   Doc 19   Filed 09/25/18    Entered 09/25/18 12:01:31   Main Document
                                         Pg 7 of 10
17-23868-rdd   Doc 19   Filed 09/25/18    Entered 09/25/18 12:01:31   Main Document
                                         Pg 8 of 10
17-23868-rdd   Doc 19   Filed 09/25/18    Entered 09/25/18 12:01:31   Main Document
                                         Pg 9 of 10
17-23868-rdd   Doc 19   Filed 09/25/18 Entered 09/25/18 12:01:31   Main Document
                                      Pg 10 of 10
